              Case: 23-1126          Document: 34          Page: 1   Filed: 11/02/2023



FORM 32. Response to Notice to Advise of Scheduling Conflicts                              Form 32
                                                                                         March 2023


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

      RESPONSE TO NOTICE TO ADVISE OF SCHEDULING CONFLICTS

          Case Number: 23-1126, 23-1127, 23-1128, 23-1130, 23-1131, 23-1132

  Short Case Caption: B.E. Technology, L.L.C. v. Twitter, Inc., Google LLC

         Party Name(s): B.E. Technology, L.L.C.

INFORMATION: The court uses this form to determine whether and when to
schedule cases for oral argument. Arguing counsel may be changed later, but a
motion to reschedule is required once the court schedules argument. Please plan in
advance to adhere to the limit on the number of arguing counsel in Fed. Cir. R. 34(e).

 Argument Waiver               ‫܆‬My party intends to waive oral argument.
 NOTE: Filers checking this box must still complete the below sections. The court
 may still schedule this case for oral argument even if any party intends to
 waive argument. If scheduled, parties may still elect to waive argument using
 the response to notice of oral argument form.
 Other Parties Representing Interests
 ‫ ܆‬Counsel for another party will represent my party’s interests at oral argument
 NOTE: If this box is checked, skip the remaining sections. Any argument date will
 be selected based on conflict dates for counsel arguing on behalf of your party.
 Name of Expected Arguing Counsel Michael DeVincenzo
 Dates Unavailable
 Do you have dates of unavailability within the specific sessions identified by the
 court’s Notice to Advise of Scheduling Conflicts in your case?
 ‫ ܆‬Yes
  ✔
                     ‫ ܆‬No
 If yes, attach a separate sheet listing up to ten dates of unavailability and
 include a statement showing good cause for each date. Dates without good
 cause or that do not pertain to arguing counsel (e.g., client conflicts) will not be
 accepted. The court will only accept dates for one counsel and only if that counsel
 has filed an entry of appearance. The Clerk’s Office will evaluate and note accepted
 or rejected conflict dates; counsel may contact the Clerk’s Office about re-filing if
 dates are rejected. See Fed. Cir. R. 34(d); Practice Notes to Rule 34.
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                                                                                          March 2023


 Potential Case Conflicts
 Are there other pending cases before this court (regardless of case status) in which
 expected arguing counsel in this case also expects to argue?
 ‫܆‬Yes            ‫܆‬No
                      ✔




 If yes, attach a separate sheet listing those cases.

I certify the above information and any attached statement is complete and
accurate. I further certify that I will update my notice should new conflicts arise
or existing conflicts change.

        11/02/2023
  Date: _________________                         Signature:     /s/ Michael DeVincenzo

                                                  Name:          Michael DeVincenzo
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     Nos. 23-1126, 23-1127, 23-1128, 23-1130, 23-1131, 23-1132

                                  IN THE

           United States Court of Appeals
                      FOR THE FEDERAL CIRCUIT

                          B.E. TECHNOLOGY, L.L.C.,
                                                                    Appellant,
                                      v.

                      TWITTER, INC., GOOGLE LLC,
                                                            Cross-Appellants.


          Appeals from the United States Patent and Trademark Office,
                        Patent Trial and Appeal Board
 in Nos. IPR2021-00482, IPR2021-00483, IPR2021-00484, and IPR2021-00485


STATEMENT OF UNAVAILABILITY FOR ORAL ARGUMENT

Michael DeVincenzo
Charles Wizenfeld
Andrea Pacelli
KING & WOOD MALLESONS LLP
500 Fifth Avenue, 50th Floor
New York, New York 10110
212-319-4755

Counsel for Appellant
B.E. Technology, L.L.C.
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  1. Appellant’s counsel, Michael DeVincenzo, will argue this appeal.

  2. Mr. DeVincenzo is unavailable on the following upcoming argument dates:

     February 5, 2024; February 6, 2024; and February 7, 2024.

  3. There is good cause for each date listed on the Response to Notice to Advise

     of Scheduling Conflicts. Mr. DeVincenzo has a claim construction hearing

     scheduled for February 1, 2024 in the following district court cases: B.E.

     Technology, L.L.C. v. Twitter, Inc., 1:20-cv-00621-GBW (D. Del.) and B.E.

     Technology, L.L.C. v. Google, LLC, 1:20-cv-00622-GBW (D. Del.). Mr.

     DeVincenzo’s participation in that hearing will make it difficult to conduct

     the preparation necessary for an oral argument in this matter on the dates

     listed herein.

  4. For these reasons, Appellant respectfully requests that the Court not

     schedule argument on any of the dates listed on the Response to Notice to

     Advise of Scheduling Conflicts.


                                             Respectfully submitted,

Date: November 2, 2023                 by: /s/ Michael DeVincenzo
                                              Counsel for Appellant B.E.
                                              Technology, L.L.C .
           Case: 23-1126      Document: 34     Page: 5   Filed: 11/02/2023




                              PROOF OF SERVICE

I, Michael DeVincenzo, hereby certify that on November 2, 2023, I caused one

copy of the foregoing document to be electronically filed using the CM/ECF

system, which sent a notice of electronic filing to all ECF registered participants.



Date: November 2, 2023                        by:    /s/ Michael DeVincenzo
                                                      Michael DeVincenzo
                                                      Counsel for Appellant B.E.
                                                      Technology, L.L.C.
